       Case 2:20-cv-00966-NR Document 309 Filed 08/03/20 Page 1 of 7




              IN THE UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF PENNSYLVANIA

DONALD J. TRUMP FOR                     )
                                        )
PRESIDENT, INC., et al.,                ) 2:20-cv-966-NR
                                        )
             Plaintiffs,                )
                                        )
      v.                                )
                                        )
                                        )
KATHY BOOCKVAR, et al.,                 )
                                        )
                                        )
             Defendants.                )

                           MEMORANDUM ORDER
J. Nicholas Ranjan, United States District Judge
      Before the Court are four motions to intervene, brought by:           the
Pennsylvania State Democratic Party and various candidates and non-
candidate legislators [ECF 83]; the NAACP Pennsylvania State Conference,
Common Cause Pennsylvania, League of Women Voters of Pennsylvania, and
several individual electors [ECF 103]; Citizens for Pennsylvania’s Future and
the Sierra Club [ECF 137]; and the Pennsylvania Alliance for Retired
Americans and several individual electors [ECF 199].
      Plaintiffs have opposed three of the four motions, 1 arguing that the
proposed intervenors do not possess a sufficient legal interest in the present
dispute and that they have failed to identify the claims and defenses to which
they are proper parties. After careful consideration of the arguments, and for
the following reasons, the proposed intervenors’ motions will be granted.




1Plaintiffs filed no opposition to the motion to intervene brought by the State
Democratic Party and various candidates and non-candidate legislators [ECF
83]. The Court will grant the motion as unopposed.
                                     -1-
        Case 2:20-cv-00966-NR Document 309 Filed 08/03/20 Page 2 of 7




                               BACKGROUND
      On June 29, 2020, Plaintiffs, who are Republican candidates or electors
in the upcoming November 2020 general election, filed this lawsuit seeking
declaratory and injunctive relief in advance of the election. [ECF 4]. They
subsequently amended their complaint on July 27, 2020.              [ECF 234].
Defendants are the Secretary of the Commonwealth, as well as the boards of
elections for all 67 counties in Pennsylvania.
      Two weeks after the lawsuit was filed, on July 13, 2020, the
Pennsylvania State Democratic Party and various Democratic candidates and
non-candidate legislators filed a motion to intervene, arguing that they have a
distinct interest in “protecting Democratic candidates in competing in a free
and fair election and further protecting registered Democratic voters’ rights to
an effective vote.” [ECF 85, p. 14].
      On July 15, 2020, the NAACP Pennsylvania State Conference, Common
Cause Pennsylvania, League of Women Voters of Pennsylvania, and several
individual electors moved to intervene, arguing that they have a distinct
interest in “protecting their own and their members’ rights to vote safely in the
midst of a pandemic[.]” [ECF 104, p. 19].
      On July 20, 2020, Citizens for Pennsylvania’s Future and the Sierra Club
filed their motion to intervene, arguing that they have a distinct interest “in
empowering traditionally underrepresented communities to participate in the
electoral process” through mail-in voting. [ECF 138, p. 12].
      Finally, on July 24, 2020, the Pennsylvania Alliance for Retired
Americans and several retired voters moved to intervene, arguing that they
have a distinct interest in “safely exercis[ing] their right to vote through the
use of mail ballots” delivered to drop-boxes. [ECF 200, p. 15].


                                       -2-
        Case 2:20-cv-00966-NR Document 309 Filed 08/03/20 Page 3 of 7




      All proposed intervenors have argued that they are entitled to intervene
as of right or permissively under Federal Rule of Civil Procedure 24.
      Plaintiffs have opposed the final three motions to intervene [ECF 103;
ECF 137; ECF 199], advancing essentially the same arguments in each brief.
They argue that the proposed intervenors fail to meet Rule 24’s requirements
for intervention as a matter of right or by permission, since proposed
intervenors “lack a discrete, substantial, legally protectable interest in the
outcome of this suit, and they cannot overcome the presumption that
Defendants and/or other intervening parties are adequately representing their
interests.” [ECF 177, p. 2; ECF 224, p. 2; ECF 304, p. 2]. They also argue that
the proposed intervenors fail to identify the claims and defenses to which they
are a proper party as required by Rule 24(c). [ECF 177, p. 1; ECF 224, p. 1;
ECF 304, p. 1].
      The motions are fully briefed and ready for disposition. After considering
the papers, the Court finds, in its discretion, that all proposed intervenors
should be granted leave to permissively intervene.
                          DISCUSSION & ANALYSIS
      Rule 24 provides two procedural avenues for an entity that was not
named as a party to a lawsuit to seek to insert itself into the proceedings.
Those are designated under the Rule as “intervention of right,” Fed. R. Civ.
P. 24(a), and “permissive intervention,” Fed. R. Civ. P. 24(b).
      To intervene as a matter of right under Rule 24(a)(2), the proposed
intervenor must demonstrate: “(1) the application for intervention is timely;
(2) the applicant has a sufficient interest in the litigation; (3) the interest may
be affected or impaired, as a practical matter by the disposition of the action;
and (4) the interest is not adequately represented by an existing party in the


                                       -3-
       Case 2:20-cv-00966-NR Document 309 Filed 08/03/20 Page 4 of 7




litigation.” In re Cmty. Bank of N. Virginia, 418 F.3d 277, 315 (3d Cir. 2005)
(quoting Harris v. Pernsley, 820 F.2d 592, 596 (3d Cir. 1987)).
     Permissive intervention under Rule 24(b), on the other hand, allows for
intervention under more relaxed conditions. The Rule permits a party to
intervene by demonstrating: (1) a timely application for intervention; and (2)
that the party’s claim or defense shares a common question of law or fact with
the underlying action. See Fed. R. Civ. P. 24(b)(1)(B). When reviewing a
request for permissive intervention, the court must also consider whether
permissive intervention would “unduly delay or prejudice the adjudication of
the rights of the original parties.” Pansy v. Borough of Stroudsburg, 23 F.3d
772, 779 n. 6 (3d Cir.1994) (quoting Fed. R. Civ. P. 24(b)(3)).
     “Whether to allow a party to permissively intervene is left to the sound
discretion of the Court.” Worthington v. Bayer Healthcare, LLC, Civ. No. 11–
2793(ES)(CLW), 2011 WL 6303999, at *8 (D.N.J. Dec. 15, 2011) (citation
omitted); Brody By & Through Sugzdinis v. Spang, 957 F.2d 1108, 1124 (3d
Cir. 1992) (“[A]s the doctrine’s name suggests, [it] is within the discretion of
the district court” whether to grant permissive intervention) (citation
omitted). “The purpose of permissive intervention is to avoid a multiplicity
of suits by settling related controversies in a single action.” Wolf by Wolf v.
Procter & Gamble Co., 555 F.Supp. 613, 627–28 (D.N.J. 1982) (citation
omitted).
     Here, the Court need not address intervention by right, since permissive
intervention is appropriate—the proposed intervenors’ requests to intervene
are timely, the grounds they present share a common question of law or fact
with the underlying action, and there is no undue delay or prejudice involved.
     First, the proposed intervenors meet the threshold inquiry of whether
their motions are timely. See NAACP v. New York, 413 U.S. 345, 365 (1973).
                                      -4-
       Case 2:20-cv-00966-NR Document 309 Filed 08/03/20 Page 5 of 7




“Rule 24 does not set forth a specific time limit governing the filing of a motion
to intervene. Therefore, the determination of whether the motion has been
timely filed is left to the discretion of the trial court.” League of Women
Voters of Haverford Twp. v. Bd. of Comm’rs. of Haverford Twp., No. CIV.A.
86-0546, 1986 WL 3868, at *2 (E.D. Pa. Mar. 27, 1986). Here, it is apparent
that all proposed intervenors moved in a timely way; indeed, they all moved
in the few weeks between when Plaintiffs filed the initial complaint and when
they amended. See id. (“There is no question that the applicants have made
a timely motion to intervene having filed their motion within one month of
the filing of plaintiff’s complaint. This is not a case where the applicants have
sat on their rights or failed to protect their interests.”); Ass’n for Fairness in
Bus., Inc. v. New Jersey, 193 F.R.D. 228, 232 (D.N.J. 2000) (permissive
intervention granted where case was in preliminary stage of litigation).
      Second, the proposed intervenors’ interests have a question of law or
fact in common with this lawsuit. Namely, the proposed intervenors’ interest
in the constitutionality of Pennsylvania’s voting procedures, mainly through
the use of drop-boxes for mail-in voting, goes to the heart of Plaintiffs’ action.
See League of Women Voters, 1986 WL 3868, at *2 (residents of township who
were registered to vote permissively allowed to intervene since “[t]heir claim
concerning the Board of Commissioners’ failure to redistrict is identical to the
claim raised by the original parties”); Pierce v. Allegheny County Bd. of
Elections, 324 F. Supp. 2d 684, 688 (W.D. Pa. 2003) (Conti, J.) (noting
intervention of the Pennsylvania Democratic State Committee to Republican
political candidates’ challenge against county board of elections regarding
third-party delivery of absentee ballots); Stein v. Cortes, 223 F. Supp. 3d 423,
429 (E.D. Pa. 2016) (noting the intervention of the Republican Party to a
lawsuit demanding a recount for the 2016 general election).
                                       -5-
       Case 2:20-cv-00966-NR Document 309 Filed 08/03/20 Page 6 of 7




     Third, intervention at this time will not unduly delay or prejudice the
adjudication of the rights of Plaintiffs, since the case has not progressed to a
stage where intervention would be burdensome. Indeed, Plaintiffs only filed
their amended complaint last week. See League of Women Voters, 1986 WL
3868, at *2; E.E.O.C. v. Northwestern Human Servs., No. Civ.A. 04–CV–
4531, 2005 WL 2649324, at *4 (E.D. Pa. Oct. 14, 2005) (“Defendant is unlikely
to experience any undue delay or prejudice. Discovery is ongoing[.]”). While
the hearing on Plaintiffs’ requests for declaratory relief is about two months
away, the proposed intervenors will nonetheless be able to fully comply with
this Court’s pre-hearing scheduling order, without delaying or prejudicing
Plaintiffs’ rights, including preparation for the hearing.
     Finally, the Court notes that Plaintiffs argue that some of the proposed
intervenors violated Rule 24(c).      Rule 24(c) provides that a proposed
intervenor must set forth a “pleading that sets out the claim or defense for
which intervention is sought.” However, the Court finds that the proposed
intervenors’ failure to attach such a document is not fatal to their motions
“because ‘the failure to comply with the Rule 24(c) requirement for a pleading
is a purely technical defect which does not result in the disregard of any
substantial right.’” PPL Energyplus, LLC v. Solomon, No. CV 11-745 (PGS),
2011 WL 13128622, at *3 (D.N.J. July 19, 2011) (quoting Westchester Fire
Ins. Co. v. Mendez, 585 F.3d 1183, 1188 (9th Cir. 2009)). Noncompliance with
Rule 24(c) is not fatal if the potential intervenor clearly states the grounds
for intervention, which is what each proposed intervenor has done here. See
Pereira v. Foot Locker, Inc., No. 07-cv-2157, 2009 WL 4673865, at *5 (E.D.
Pa. Dec. 7, 2009) (“The interpretation of this rule is generally liberal,
particularly when the actions of the movant have provided the basis and
nature for their intervention.”) (citation omitted).
                                      -6-
       Case 2:20-cv-00966-NR Document 309 Filed 08/03/20 Page 7 of 7




     Under these circumstances, permissive intervention is appropriate.
                             CONCLUSION
     AND NOW, this 3rd day of August, 2020, the Court hereby ORDERS
that proposed intervenors’ motions to intervene, [ECF 83; ECF 103; ECF 137;
ECF 199], are GRANTED.


                                   BY THE COURT:

                                   /s/ J. Nicholas Ranjan
                                   United States District Judge




                                    -7-
